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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
 ____________________________________
                                       :    Hon. Stanley R. Chesler
 IMPAX LABORATORIES, INC.,             :    Civil Action No. 17-13476
                                       :
               Plaintiff,              :
                                       :
         v.                            :
                                       :    OPINION
 ZYDUS PHARMACEUTICALS                 :
 USA, INC. et al.,                     :
                                       :
               Defendents.             :
 ____________________________________:

 CHESLER, U.S.D.J.

        This matter comes before the Court on the motion for judgment on the pleadings,

 pursuant to Federal Rule of Civil Procedure 12, by Defendants Zydus Pharmaceuticals USA, Inc.

 and Cadila Healthcare Limited (collectively, “Zydus.”) As to four of the counterclaims at issue,

 Plaintiff Impax Laboratories, Inc. (“Impax”) has opposed the motion.1 For the reasons that

 follow, the motion will be granted.

        This case arises out of a patent infringement dispute under the Hatch-Waxman Act

 between Impax, which owns patents covering its Rytary® pharmaceutical product, and Zydus,

 which has filed ANDA No. 210911, seeking to make and sell a generic version of Rytary®. The

 following facts are undisputed. The Zydus ANDA contains paragraph IV certifications that the

 proposed product will not infringe any valid claim of six patents listed for Rytary® in the

 Orange Book. After Zydus sent Impax the required notice letter, Impax filed the instant suit.

 The Complaint asserts a claim for patent infringement of only one of the six patents in the


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          Impax does not oppose the motion with respect to counterclaim Count III, involving the
 ‘427 patent. As to counterclaim Count III, the motion will be granted.
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 Orange Book, the ‘608 patent. On April 27, 2018, Zydus filed an Amended Answer to the

 Complaint asserting, inter alia, six counterclaims seeking declaratory judgments of

 noninfringement for each of the six Rytary® patents listed in the Orange Book. On June 1,

 2018, Impax filed an Answer to the counterclaims. As to the ‘608 patent, Impax denied the

 counterclaim allegation of noninfringement.

        As to the other four patents still at issue on this motion, the counterclaims and Plaintiff’s

 Answer to them follow a pattern. In the counterclaim for declaratory judgment for each of the

 four patents, Zydus alleged that the manufacture and sale of the proposed product that is “the

 subject of ANDA No. 210911 would not and will not directly or indirectly infringe, either

 literally or under the doctrine of equivalents, any valid claim of” the particular patent. (Defs.’

 Am. Answ. ¶ 50.) In the Answer to the counterclaims, as to each of the four patents, Impax

 stated: “As of this date, based on the current proposed products that are the subject of ANDA

 No. 210911, Plaintiff admits the allegations of paragraph __ of the counterclaims.” (Pl.’s

 Counter. Answ. ¶ 50.) This pattern applies to all four of the patents still at issue on this motion:

 the ‘474, ‘998, ‘283, and ‘607 patents. The counterclaim Answer is dated June 1, 2018.

        Zydus moves for judgment on the pleadings on the ground that, as to the four patents,

 Plaintiff’s statements in the Answer to the counterclaims constitute statements conceding

 noninfringement. “Under Rule 12(c), judgment will not be granted unless the movant clearly

 establishes that no material issue of fact remains to be resolved and that he is entitled to

 judgment as a matter of law.” Jablonski v. Pan Am. World Airways, Inc., 863 F.2d 289, 290 (3d

 Cir. 1988). Defendants argue that, because Plaintiff has conceded noninfringement, no factual




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 issues remain, and they are entitled to declaratory judgments of noninfringement as a matter of

 law.

         In support, Zydus cites Par Pharm., Inc. v. Luitpold Pharm., 2017 U.S. Dist. LEXIS

 15050 (D.N.J. Feb. 1, 2017). In Par, defendant Luitpold moved for judgment on the pleadings,

 seeking judgment on its declaratory judgment counterclaims that the product proposed in its

 ANDA submissions does not infringe the applicable patents. Id. at *9-*11. In opposition,

 plaintiff Par argued that the product Luitpold intended to eventually sell, rather than the product

 specified in the ANDA, would infringe. In a filing, however, Par conceded that the formulations

 stated in the ANDA did not have the same or equivalent formulation required by the patents-in-

 suit. Id. at *8.

         The Court rejected Par’s argument opposing the motion and granted the motion for

 judgment on the pleadings, citing the Federal Circuit’s Glaxo decision. Id. at *15-*16. In Glaxo

 Inc. v. Novopharm Ltd., 110 F.3d 1562, 1569 (Fed. Cir. 1997), the Federal Circuit differentiated

 typical patent infringement claims from those brought under 35 U.S.C. § 271(e)(2) as follows:

 “The only difference in actions brought under § 271(e)(2) is that the allegedly infringing drug

 has not yet been marketed and therefore the question of infringement must focus on what the

 ANDA applicant will likely market if its application is approved, an act that has not yet

 occurred.” The Par court rejected Par’s argument as speculation: “Par’s argument against the

 entry of judgment for Luitpold at this stage is based entirely on speculation that the FDA will

 require Luitpold to adjust its product formulation in a way that will infringe the Patents-in-Suit.”

 Id. at *17-*18. Zydus contends that Impax here makes the same argument in opposition that Par

 did.


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           Impax attempts to distinguish Par by arguing that it is not here relying on speculation, but

 on actual concerns the FDA has voiced about the Zydus ANDA product. This argument is

 unpersuasive. As to the declaratory judgment counterclaims, Impax has speculated that,

 sometime in the future, and in some unknown way, Zydus will change its ANDA formulation

 from one that does not infringe to one that does. This is essentially the same argument that Par

 made, and that that Court rejected. As the Federal Circuit stated in Glaxo, “the question of

 infringement must focus on what the ANDA applicant will likely market if its application is

 approved.” 110 F.3d at 1569. Impax has conceded that the product that is the subject of ANDA

 No. 210911, as of June 1, 2018, does not infringe. That is the product that Zydus will likely

 market if ANDA No. 210911, as it stood on June 1, 2018, is approved. The argument that Zydus

 might market something different from what was in its ANDA on June 1, 2018 has no relevance

 to the question of whether the product that is the subject of ANDA No. 210911, as of June 1,

 2018, infringes.

           Impax makes two arguments in opposition to the motion: 1) Impax did not make the

 concessions claimed by Zydus; and 2) recent events, subsequent to the filing of the pleadings,

 raise factual disputes. As to the first argument, as already stated, the exact statements Impax

 made all follow this form: “As of this date, based on the current proposed products that are the

 subject of ANDA No. 210911, Plaintiff admits the allegations of paragraph 50 of the

 counterclaims.” (Pl.’s Counter. Answ. ¶ 50.) This Court need not closely parse the meaning of

 these words, because their meaning is clear: Impax conceded that the product that is, as of the

 date of the document, June 1, 2018, disclosed in ANDA No. 210911, does not infringe the ‘474

 patent.


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        Impax argues that the word choices in the concession statements somehow preclude a

 grant of judgment on the pleadings, but does not explain why that should be the case. The

 parties agree that the standard under Third Circuit law requires that the movant clearly establish

 that no material issue of fact remains to be resolved and that the movant is entitled to judgment

 as a matter of law. For Impax to make headway with this first argument, it must at least raise

 questions about one of those two elements – material factual disputes, entitlement to judgment as

 a matter of law –, but Impax has not done so. Impax has pointed to nothing that raises a material

 factual question: there is no question that Impax filed the counterclaim Answer containing the

 concession statements. Nor has Impax pointed to anything which challenges the entitlement of

 Zydus to judgment as a matter of law. All Impax has done here is to say that its statements in the

 counterclaim Answer say only what they say. On that point, this Court agrees.

        The basis for the Court’s conclusion that Zydus is entitled to judgment as a matter of law

 is quite straightforward. Zydus filed four counterclaims for declaratory judgment of

 noninfringement. Impax answered those four counterclaims by conceding noninfringement.

 Zydus is therefore entitled to judgment as a matter of law.

        As to the second argument, Impax contends that events subsequent to the pleadings raise

 factual disputes that preclude the entry of judgment as a matter of law. This fails from the start.

 Impax clearly conceded that the product disclosed in ANDA No. 210911 as of June 1, 2018 did

 not infringe the patents. No events subsequent to June 1 can affect the state of the facts as of

 June 1. Impax clearly conceded the relevant facts as of June 1 and, absent fraud or some other

 extraordinary circumstance not suggested here, that is conclusive. The material facts are

 undisputed.


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        As to the four counterclaims for which the motion is opposed, Zydus has shown that it is

 entitled to judgment as a matter of law, and the motion for judgment on the pleadings will be

 granted. As to one counterclaim, the motion is unopposed, and the motion will be granted.

 Judgment will be entered in favor of Defendants on counterclaims Count III, V, VII, IX, and XI,

 and the appropriate declarations of noninfringement will be issued.



                                                      /s Stanley R. Chesler
                                                     STANLEY R. CHESLER. U.S.D.J.

        Dated: November 29, 2018




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